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AO 91 (Rev. 08/09) Criminal Complaint

  
     

sm 'Dietict ot of Texas

UNITED STATES DISTRICT COURT PE
for the AUG. ~ 1 2079

Southern District of Texas

 

David J, Bradley, Clerks

Case No. M- 19-1796 -NY

United States af America
ran
Alberto Barse orc

YOB: 1999, COC: USA
Mauricio Martell
YOB: 1998, COC: USA

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Defendant(s)

CRIMINAL COMPLAINT

1, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of July 31, 2019 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 United States Code § 554 Did knowingly and willfully conspired to export or send from the United States,

any merchandise, article, or object, to wit: one AK 47 style rifle, and one .50
Barrett rifle, contrary to any law or regulation of the United States, or receives,
conceals, buys, sells, or in any manner facilitates the transportation,
concealment, or sale of such merchandise, article or object, prior to exportation,
knowing the same to be intended for exportation contrary to any law or
regulation of the United States.

This criminal complaint is based on these facts:

SEE ATTACHMENT "A"

¥ Continued on the attached sheet.

 

 

epiainant’s signature

 

Gregory Connolly, HS! Special Agent

Printed name and title
Sworn to before me and signed in my presence.
Date: 8/1/2019 Zilla fc oS sg
Judge's signature

City and state: McAllen, Texas . Peter E. Ormsby, U.S. Magistrate Judge

Printed name and title
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ATTACHMENT A

On July 31, 2019, Homeland Security Investigations (HSI) and Alcohol Tobacco Firearms and
Explosives (ATF) arrested two individuals, Alberto GARCIA (hereinafter known as GARCIA)
and Mauricio MARTELL (hereinafter known as MARTELL) in Pharr, Texas. At the time of the
Defendants arrest, they were in possession of a Bushmaster, model XM15-E2S, MULTI caliber
rifle and a .50 caliber rifle, which were both subsequently seized. |

At the McAllen ATF office, post-Miranda interviews were conducted with GARCIA and
MARTELL. Both GARCIA and MARTELL waived their rights, both verbally and in writing.
GARCIA and MARTELL admitted to purchasing the firearms with money provided by an
individual in Mexico. GARCIA and MARTELL stated the firearms were going to be given to an
individual that would smuggle the firearms to Mexico. Both GARCIA and MARTELL stated
they knew it was illegal to smuggle firearms into Mexico, due to the signs they saw while
entering Mexico.

GARCIA and MARTELL also admitted they had purchased firearms in the United States to be
smuggled into Mexico on other prior occasions. According to the U.S. Department of State,
Office of Defense Trade Controls Compliance (DTCC), the seized firearms are determined to be
defense articles described on the United States Munitions List (USML) and regulated for export

pursuant to the Arms Export Control Act (Title 22, United States Code, 2778).
